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                              EXHIBIT
                                A
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 UNITED STATES DISTRICT COURT
 EASTERN DISTRICT OF NEW YORK

  PEDRO CRUZ-PEÑA, on behalf of himself,
  individually, and on behalf of all others similarly
  situated,
                                                                24 CV 6263 (PKC) (RML)
                           Plaintiff,

           -against-

  GREAT KITCHEN SUPPORT CORP., and
  CHRISTIAN DIAZ, individually,

                           Defendants.


                       COURT AUTHORIZED NOTICE OF LAWSUIT

 If you worked for Great Kitchen Support Corp. (“Defendant”), at any time between September 6,
 2021, and the present, please read this Notice.

      Important: You are NOT being sued. This Notice is NOT a solicitation from a lawyer.
                              The Court authorized this Notice.
 •   Plaintiffs Pedro Cruz-Pena, Dianelba Suriel, and Amalia Godinez are former employees of
     Defendant, who worked for Defendant as Kitchen Assistants and/or Cooks.
 •   Plaintiffs are pursuing this lawsuit against Defendant on behalf of themselves and all other
     current and former employees who worked for Defendant as an Area Manager or Territory
     Manager at any time between September 6, 2021, and the present. Plaintiffs allege that
     Defendant misclassified them as exempt from overtime and failed to pay them the minimum
     wage. Plaintiffs further claim that they worked over forty hours per week and that Defendant
     paid them an arbitrary weekly salary, and did not pay them overtime pay for the hours that they
     worked over forty each week, in violation of the Fair Labor Standards Act. Defendant denies
     any wrongdoing and maintains that it properly paid all of its employees in accordance with the
     law.
 •   The Court has authorized Plaintiffs to send out this Notice. The Court has not yet decided who
     is right or who is wrong. However, your legal rights may be affected, and you have a choice
     to make now.
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                      YOUR LEGAL RIGHTS AND OPTIONS IN THIS LAWSUIT
                          If you choose to be included in this collective action, you must complete
                          the “Consent to Join Lawsuit” form at the end of this Notice. You may
       ASK TO BE
                          then share in any proceeds from a settlement or judgment if those bringing
       INCLUDED
                          the claims are successful and you qualify under the law, but you give up
                          any rights to separately sue the Defendant for the same legal claims in this
                          lawsuit.
      DO NOTHING          By doing nothing, you will not be included in this lawsuit, and the statute
                          of limitations on your federal claims continues to run.

   1. Why did I get this notice?

 You are getting this notice because Defendant’s records show that you may have worked for
 Defendant at some point between September 6, 2021, through the present, as Kitchen Assistant
 and/or a Cook.

   2. What is a collective action and who is involved?

 In a collective action lawsuit, one or more persons can bring a lawsuit on behalf of others who
 have similar claims. The individuals who brought and joined this lawsuit are called the Plaintiffs.
 The corporate entity that is being sued is called the Defendant. One court resolves the issues for
 everyone who decides to join the case.

   3. What is this collective action lawsuit about?

 Plaintiffs allege that Defendant’s compensation practices violated federal law. Plaintiffs claim
 that they and those similarly-situated who worked for Defendant are entitled to unpaid overtime
 wages, liquidated damages, attorneys’ fees, and costs.

 Defendant denies any wrongdoing and/or liability and maintains that it paid all of its employees in
 accordance with the law.

   4. What is the purpose and effect of this notice?

 This notice is for the sole purpose of determining those persons who wish to be involved in this
 case.

 If you elect to join this proceeding, and Plaintiffs successfully obtain a settlement or a judgment,
 you may be entitled to some portion of the recovery. There are no assurances that any recovery
 will be awarded.

 You should be aware that a claim under the Fair Labor Standards Act must be brought within two
 years of the date that the claim accrues, unless you can prove that your employer’s violation was
 “willful,” in which case the claim must be brought within three years.




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   5. How do I join this collective action lawsuit?

 To participate in this lawsuit, you need to fill out the enclosed form titled “Consent to Join
 Lawsuit” and mail it in the enclosed, postage-paid envelope, to Plaintiffs’ Counsel, Borrelli &
 Associates, P.L.L.C. Should the enclosed envelope be lost or misplaced, the Consent to Join
 Lawsuit form must be sent to:

        Borrelli & Associates, P.L.L.C.                 You can also: fax the Consent to Join
       910 Franklin Avenue, Suite 205                   Lawsuit form to (516) 248-6027; or scan
       Garden City, New York 11530                      and         email          it        to
            Tel: (516) 248-5550                         apc@employmentlawyernewyork.com

 The signed Consent to Join Lawsuit form must be filed with the Court by [60 days from mailing
 of notice]. If your signed Consent to Join Lawsuit form is not filed with the Court by [60 days
 from mailing of notice], you may not be allowed to participate in this lawsuit.

  6. If I choose to join this lawsuit, will I have to participate in any legal proceeding?

 Most likely, if you choose to join this lawsuit, you will be required to provide information and
 answer questions relating to your employment with Defendant. You may be required to testify at
 a deposition or at a trial, respond to written questions, and/or produce documents relevant to the
 case. For this reason, if you join the lawsuit, you should preserve all documents relating to your
 employment with the Defendant that are currently in your possession. Plaintiffs’ attorneys will
 assist you with these requirements if you elect for them to represent you, as explained below in
 section 10 below.

 Additionally, you will be bound by any ruling, settlement, or judgment, whether favorable or
 unfavorable. If there is a favorable resolution, either by settlement or judgment, and you qualify
 under the law, you may be entitled to some portion of the recovery. By joining this lawsuit, you
 designate Plaintiffs, or their counsel, to the fullest extent possible, to make decisions on your behalf
 concerning the case, the method and manner of conducting the case, and all other matters
 pertaining to this lawsuit. Decisions made and agreements entered into by Plaintiffs or their
 counsel relating to the lawsuit will be binding on you if you join the lawsuit.

   7. What happens if I do nothing at all?

 You will not be included in this lawsuit and you will not be affected by any settlement or judgment
 rendered in this case, whether favorable or unfavorable. The limitations period on your claims
 will, however, continue to run.

   8. Can I participate in this collective action lawsuit regardless of my immigration status?

 Yes. You have a right to participate in this lawsuit regardless of your immigration status.

   9. If I join, will there be any impact on my employment?

 No. Federal law prohibits Defendant from discharging or in any other manner retaliating against


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 you because you joined this case or have in any other way exercised your rights under federal law.

   10. Do I have a lawyer in this case?

 Plaintiffs are represented by Borrelli & Associates, P.L.L.C. If you choose to join this lawsuit,
 Borrelli & Associates, P.L.L.C. will represent you on a contingency fee basis, meaning that you
 will not owe any attorneys’ fees unless Plaintiffs are successful and win the case or obtain a
 settlement, in which case the Court will likely determine the amount of attorneys’ fees to be paid
 from any such settlement or judgment.

 You do not have to be represented by Borrelli & Associates, P.L.L.C. and may instead hire another
 attorney of your choosing, or represent yourself pro se without the assistance of a lawyer. If you
 intend to retain your own lawyer or to represent yourself, you should indicate this on the “Consent
 to Join Lawsuit” form. If you send back your form but do not indicate that you intend to retain
 your own lawyer or to represent yourself, the Court will assume that you want Borrelli &
 Associates, P.L.L.C. to represent you.

   11. This Notice has been authorized by the Court

 This notice and its contents have been authorized by Magistrate Judge Robert M. Levy of the
 United States District Court for the Eastern District of New York, located in Brooklyn, New York.
 The Court has not yet ruled on whether Plaintiffs’ claims or Defendant’s defenses have any merit.

 PLEASE DO NOT WRITE OR CALL THE COURT OR THE CLERK OF THE COURT
 ABOUT THIS NOTICE.

 Although the Court has approved the sending of this Notice, the Court expresses no opinion on the
 merits of the lawsuit. If you have any questions, you may contact Plaintiffs’ attorneys, Borrelli &
 Associates, P.L.L.C., by telephone at (516) 248-5550, or in writing at Borrelli & Associates,
 P.L.L.C., 910 Franklin Avenue, Suite 205, Garden City, New York 11530, or by email at
 apc@employmentlawyernewyork.com.




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  UNITED STATES DISTRICT COURT
  EASTERN DISTRICT OF NEW YORK

   PEDRO CRUZ-PEÑA, on behalf of himself,
   individually, and on behalf of all others similarly
   situated,
                                                                               24 CV 6263 (PKC) (RML)
                                    Plaintiff,

                  -against-

   GREAT KITCHEN SUPPORT CORP., and
   CHRISTIAN DIAZ, individually,

                                    Defendants.


  IF YOU RECEIVED THIS FORM AND WANT TO JOIN THIS LAWSUIT, PLEASE COMPLETE THESE TWO
  STEPS:

        1.     COMPLETE AND SIGN THIS CONSENT TO JOIN LAWSUIT FORM; AND

        2.     USE THE ENCLOSED ENVELOPE TO RETURN THIS FORM TO THE ADDRESS BELOW NOT
               LATER THAN [60 DAYS FROM MAILING OF NOTICE].

                  Borrelli & Associates, P.L.L.C.                  You can also: fax this Consent to Join Lawsuit form
                  910 Franklin Avenue, Suite 205                   to: (516) 248-6027; or scan and email it to:
                  Garden City, New York 11530                      apc@employmentlawyernewyork.com

I consent to join the lawsuit brought pursuant to the Fair Labor Standards Act and any applicable state law, and I
                                      elect to be represented by [choose ONE]:

_____        Borrelli      &       Associates,     P.L.L.C.        _____     Another attorney of my choosing, who shall
             I authorize Plaintiffs Pedro Cruz-Pena,                         promptly file a notice of appearance on my
             Dianelba Suriel, and Amalia Godinez, and                        behalf.
             Borrelli & Associates, P.L.L.C., to act on my
             behalf in all matters relating to this action,        _____     Myself pro se without the assistance of an
             including any settlement of my claims brought                   attorney.
             under federal and state laws.

  If you do not select any of the representation options above but send back your form to Borrelli & Associates, P.L.L.C.,
  you will automatically be represented by Plaintiffs’ lawyers, Borrelli & Associates, P.L.L.C. Moreover, failure to
  select a representation option above will authorize Pedro Cruz-Pena, Dianelba Suriel, and Amalia Godinez, and
  Borrelli & Associates, P.L.L.C., to act on your behalf in all matters relating to this action, including any settlement of
  your federal and/or state law claims. You are permitted to proceed with alternative counsel of your own choosing or
  to represent yourself pro se without the assistance of an attorney.


  SIGNATURE                                                        PRINT NAME


  Address                                                          City, State, Zip Code


  Telephone Number                                                 Email Address

  Start Date of Employment                                         End Date of Employment

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